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Subject:                           Requested 7037 - Q&A Discussion for Servicers on Fiserv Platform
Location:                          Microsoft Teams Meeting

Start:                             Fri 8/9/2024 11:00 AM
End:                               Fri 8/9/2024 11:30 AM
Show Time As:                      Tentative

Recurrence:                        (none)

Organizer:                         USDSCORTEAM



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For organizers: Meeting options
________________________________________________________________________________

Subject: Per Edfinancial’s request, FSA will meet with Fiserv and other servicers on the Fiserv servicing system pla orm
to discuss the Q&A responses for CR 7037. Please forward to proper a endees as needed.

    1) For ques on 85: We understand that the earliest date for M2 is 6/1/2024 and earliest date for M3 is 12/31/2023
       but s ll unclear if there is a specific set of dates that will be used or if the eﬀec ve date can be any date within
       that range.
    2) For ques on 86, no addi onal clarifica ons needed only included because it relates to Q85 as we need to build a
       process to refund payments from eﬀec ve date to conversion date.
    3) Based upon Q&A item #86, Fiserv will most likely need payment data from Compass on converted loans
    4) For ques on 64, Fiserv believes the ‘Revised Outstanding Balance’ value for the le er should be as of the
       pos ng date of the discharge not the eﬀec ve date. Post date would be 'current' state and in alignment with
       what the customer would see on the web once the discharge process is complete.
       For example: Pos ng a discharge on 10/10/2024 with an eﬀec ve date of 09/01/2024

                   Before discharge pos ng:


                                                             1                                                       H
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Current balance as of 10/10/2024 before discharge pos ng = 4539.72 + 17.40 = 4557.12 (Balance Before
Forgiveness)
                                         prin
                                         balance as
                                         of this
date          ac vity                    date        int balance
9/1/2024                                 $ 5,000.00 $ 30.00
9/15/2024 accrual                                    $ 9.72
9/15/2024 new balance a er accrual $ 5,000.00 $ 39.72
9/15/2024 payment for ‐$500              $ 4,539.72 $0
10/10/2024 accrual                       $ 4,539.72 $17.40

         A er discharge pos ng:
Current balance as of 10/10/2024 a er discharge pos ng = 3538.65 + 8.68 = 3547.33 (Revised Outstanding
Balance)
                                         prin
                                         balance as
                                         of this
date          ac vity                    date        int balance
9/1/2024                                 $ 5,000.00 $ 30.00
9/1/2024      203 transac on for $1000 $ 4,030.00 $ ‐
9/15/2024 accrual                                    $ 8.65
9/15/2024 new balance a er accrual $ 4,030.00 $ 8.65
9/15/2024 payment for ‐$500              $ 3,538.65 $0
10/10/2024 accrual                       $ 3,538.65 $8.68


          Le er would read:

This par al forgiveness is eﬀec ve as of 9/1/2024…..
                                                                                Revised
Loan                                  Balance Before
               Disbursement Date                            Amount Forgiven     Outstanding
Program                               Forgiveness
                                                                                Balance
xyz            date                   $4557.12              $1000.00            $3547.33




                                                   2
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Question #   Date Received from Servicer   Requirement Number                     Question                                                        FSA Response
                                                                                                                 The effetive date for each loan will be included in the 01 Detail record in the
                                                                How is the effective date determined for
                                                                                                                 Forgiveness Date
    85                8/2/2024                  M2/3 File       M2&3? is it loan specific or will there be a
                                                                defined set of dates for each measure.
                                                                                                            Yes, FISERV will need to be aware of payments. FSA is not providing the
                                                                Does Fiserv need to be made aware of
                                                                payments made between the discharge         discharge amount for M2 and M3 loans.
                                                                effective date and conversion date in order
    86                8/2/2024                  M2/3 File       to refund those payments to the customer
                                                                or will the discharge amount provided by
                                                                FSA in the D2D file represent the balance
                                                                as of the discharge effective date?
                                                                                                                 See response to question 84. The 01 Record Principal and Interest fields are the
                                                                Can FSA confirm which field(s) will be
                                                                providing the forgiveness amount for             P&I at the time the file was generated, not necessarily the borrower's current
                                                                Measures 2 & 3. Should we be using the           balance amounts.
    87                8/2/2024                  M2/3 File       Forgiveness Amount field in the 02 record
                                                                for the SDR discharge amount? Or should
                                                                we be looking at the 01 record and using
                                                                the Principal and Interest fields?
                                                                    Previous responses
                                                                Confirm which field(s) FSA will be providing the No, FSA will not provide the forgiveness amount for M2 and M3. If a loan is in
                                                                forgiveness amount for Measures 2 and 3?         the M2 and M3 file it is full forgiveness. The Forgiveness Amount Field in the 02
    84                8/2/2024                  M2/3 File       Should we be using the Forgiveness Amount        record is the historical amount of forgiveness reported on the laon.
                                                                field in the 02 record of the SDR discharge
                                                                amount?
                                                                Can FSA confirm that borrowers with              The opt‐out and requirements within CR7037 do not apply to commercially
                                                                Commercially Held FFEL loans are truly eligible held FFEL loans. The proposed regulations, if implemented, do contain debt
                                                                for Student Debt Relief? If so, how are these relief provisions for FFEL borrowers. FSA plans to issue opt‐out related
    81               7/30/2024                    TPs
                                                                requirements being communicated to Lenders, guidance to commercial FFEL holders.
                                                                Servicers and Guarantors?

                                                                                                            FSA will send the consolidated opt‐out listing to all servicers upon the
                                                                Is there an expectation that when servicers completion of the opt‐out period. Servicers are expected to update the status
                                                                receive the reports, they should be         of any borrower on their system who may have opted out at one servicer but
                                                                updating any borrowers to an opt-out        not another.
                                                                status based on what had been submitted
    82               7/30/2024                    TPs           to other servicers? For example, if a
                                                                borrower has loans on both Servicer A and
                                                                Servicer B, and they opted out at Servicer
                                                                A, but not Servicer B, is Servicer B
                                                                supposed to move the borrower’s status to
                                                                Opt-Out after receiving the report?
                                                                Multiple                                    We will provide more detail as soon as we can, but IST is only for the discharge
                                                                                                            and response files. IST will begin on 8/16. IST will not include the file that was
    83               7/30/2024                     IST
                                                                                                            going to be sent on 9/1. That is no longer required. Servicers should send their
                                                                                                            IST POC to FSA NLT 8/2.
                                                                                                            No, the servicer shall support multiple banners and IVR messages.
                                                                When we update the website banner are
                                                                we to remove the current banner alert for
    70               7/26/2024                 Opt Out TPs
                                                                the FSA message in regards to the July
                                                                18th SAVE Administrative Stay Order?
                                                                Can FSA send us a list of the borrowers          Per the communication sent to servicers on 7/15 the notification is going to all
                                                                who will receive the e-mails on the              borrowers.
    71               7/26/2024                 Opt Out TPs
                                                                potential forgiveness and opting out or are
                                                                these being sent to all borrowers?
                                                                For #4 - Borrowers who enrolled in low-          No, this regulation does not pertain to BDD.
                                                                financial value programs, is this
    72               7/26/2024                 Opt Out TPs
                                                                pertaining to BDD and does the opt-out
                                                                pertain to BDD?
                                                                If we are to receive an opt-out related to       No ‐ the opt‐out will not apply to current BDD or automatic closed school
                                                                any of the 4 types of relief, do we need to      discharges.
    73               7/26/2024                 Opt Out TPs
                                                                stop processing any BDD or Automatic
                                                                Closed School discharges?
                                                                When would we expect the proposed rules  FSA anticipates the final rules will be published in the fall prior to the
    74               7/26/2024                 Opt Out TPs
                                                                to be finalized?                         beginning of discharge processing.
                                                                                                         FSA has not finalized the Joint Consolidation Loan Separation Process timeline
                                                                                                         at this time. Once finalized servicers will receive additional guidance.
                                                                 When would the Joint Consolidation Loan
                                                                                                         Borrowers with JCL related questions should be directed to the link below for
    75               7/26/2024                 Opt Out TPs      Separation Process become available to
                                                                                                         additional information. https://studentaid.gov/announcements‐events/joint‐
                                                                the borrowers?
                                                                                                         consolidation‐loans

                                                                When we are updating NSLDS with the opt- The servicer should use the IDR opt‐out. A new Debt Relief opt‐out will not be
                                                                out are we to manually update NSLDS with created. Servicers should also submit opt‐outs via the SDR Operational
    76               7/26/2024                 Opt Out TPs
                                                                the IDR opt-out or will there be a new opt- Reporting as described on tabs Opt Out Reporting Summary and Opt Out
                                                                out for Debt Relief?                        Reporting Detailed.
                                                                Can we use the talking points and the       FSA is reviewing this request and will provide an update.
                                                                information in the attached document to
                                                                craft an email response to borrowers
    77               7/26/2024                 Opt Out TPs
                                                                should they contact us with questions?
                                                                Does FSA need to review/approve that
                                                                email response?
                                                                 Will FSA be creating a web page on         FSA will update StudentAid.gov/DebtReleif with additional information to
                                                                SA.gov with the information in the          correspond with the opt‐out email campaign.
    78               7/26/2024                 Opt Out TPs
                                                                attachment, or will it be added to
                                                                StudentAid.gov/debt relief?
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                                  For non‐IDR borrower it states to redisclose  Yes, that is the intent
                                  borrower in a manner that impacts the next
                                  billing cycle. We assume this means that the
79       7/29/2024    43000.07
                                  payment amount is decreasing and will only be
                                  redisclosed if it decreases. Can FSA confirm?

                                  For graduation and extended graduation: if     Use the 60 term so the borrower gets the benefit of the lower payment, but
                                  they have more eligible term available then    not an extended payment period.
                                  originally disclosed, should the new lower
                                  payment amount use the term remaining? For
                                  example: the borrower was disclosed most
                                  recently with a term of 60 instead of 120.
                                  When the Borrower Defense or Loan
80       7/29/2024    43000.07
                                  Forgiveness payments are applied, should the
                                  payment decrease using the full 120 term or
                                  continue using the 60 term? If using the 120
                                  term, there is a chance the borrower could
                                  result in interest‐only payments for the first
                                  tier of payments.

                                  The letter requirements for Measure 1, 2, and 3 The expectation/SLO is the discharge will be applied as soon as possible, but
                                  are inconsistent. Is FSA's expectation to have not outside 10 business days. As it relates to the letter, the SLO is 5 business
                                  the discharge and letters sent within the       days. The SLOs for discharge application and the sending of the discharge
                                  expected 10 day turn times, or is the discharge notice are separate and distinct.
                                  to be completed within the SLA and the letter
                                  needs to be sent within 5 days of the
                                  forgiveness being discharged.
                                  For example, if the processing is completed on
                                  day 10, does the letter need to be sent on day
                                  10 or does each servicer have 5 more days to
                                  send the borrower communication?

                                  Measure 1:
63       7/1/2024      Letter     •43000.060: The servicer shall no fy each
                                  Measure 1 borrower once forgiveness has been
                                  applied.
                                  Measure 2:
                                  •43001.040: The servicers shall no fy each
                                  Measure 2 borrower no later than 5 days after
                                  forgiveness has been applied.
                                  Measure 3:
                                  •43002.080: The servicers shall no fy each
                                  Measure 3 borrower once forgiveness has been
                                  applied.
                                  •43002.060: Servicers shall complete all
                                  Measure 3 forgiveness processing, to include
                                  sending borrower notifications, within 10
                                  b        d 1f letter
                                  The Measure     ll       h
                                                       includes             d
                                                                 the "Revised   The effective date of the loan forgiveness.
                                  Outstanding Balance" as part of the letter.
                                  Should this balance be provided as of the post
64       7/1/2024      Letter
                                  date of the letter or the effective date of the
                                  loan forgiveness (9/1/24).

                                  At this time, does FSA have any more               FSA anticipates sending the first measure 1,2, and 3 together once all servicers
                                  information about the cadence in which each are prepared to implement. The second round of measure 1,2,and 3 files is not
65       7/1/2024
                                  file will be sent to the servicers for each        yet determined, but is unlikely to occur until the first round of files are
                                  measure?                                           complete and all response files received.
                                  Is it possible that the same award ID could be No ‐ FSA will review and analyze response files prior to sending the second
                                  received multiple times for Measure 1 across measure 1 file at a date to be determined.
66       7/1/2024                 different files? Will FSA have a control for this?
                                  How should servicers respond/process if
                                  multiples are sent?
                                  If a loan is skipped for SDR discharges due to     In the example provided the borrower would be picked up in a subsequent run
                                  another pending discharge and then the             of the measure.
                                  pending discharge is cancelled, how will the
                                  borrower receive their forgiveness benefit? Will
                                  FSA monitor this or do servicers need to create
67       7/1/2024                 a tracking mechanism for this?
                                  Example ‐ Borrower qualifies for TPD discharge
                                  and later opts out of the discharge. Do
                                  servicers need to monitor for this to apply the
                                  SDR discharge?

                                  What is the SAIG Mailbox/Message class for    This information will be provided in a follow‐up email to all servicers.
68       7/1/2024
                                  the Measure 1, 2, 3 files?
                                  Should the SDR not be applied if the borrower When the Servicer receives the borrower inquiry.
                                  has applied for a consolidation (servicer has
                                  received a borrower inquiry) or when the
69       7/1/2024     43001.030   servicer has received the payoff from the
                                  consolidation originator?
                                  If from the point of inquiry, is there a time
                                  frame to keep this exclusion in place?
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                                            1. Based on the requirements above, can the 1. No, a borrower cannot request a discharge. See response to #59.
                                            borrower request to reverse the discharge           2. After the 6 month period ‐ unless ordered by a court ‐ the SDR discharge
                                            after it has been applied if they don’t qualify for shall remain and not be reversed.
                                            a different type of discharge?                      3. Please clarify the question.
                                            2.How would servicers handle a BD, ACSD, TPD
                                            approval that is received outside of the 6          Scenario 1 ‐ Correct. The SDR discharge would be reversed and BD applied.
                                            month period where the borrower is not
                                            applying for another type of discharge?             Scenario 2 ‐ The SDR is not reversed, unless there is a court order.
                                            3.If Nelnet receives an approval on this type
                                            discharge that has an SDR and payments,
                                            would Nelnet reverse the SDR to the other
                                            discharge type even if it is outside of the 60 day
                                            window?
60       6/3/2024         43010.010
                                            SDR Discharge applied by servicer on 09/2/24,
                                            effective 9/1/24
                                            Borrower makes payments to pay loan in full
                                            between 9/1/24‐08/31/24.
                                            January 2025 – A Group Borrower Defense
                                            Approved Discharge.
                                            Servicers would reverse the SDR discharge
                                            since received within the 6 months and process
                                            Group Borrower Defense Approved Discharge.

                                            SDR Discharge applied on 09/2/24, effective
                                            9/1/24
                                            Borrower makes payments to pay loan in full
                                            b         / /
                                            Nelnet Assumption  /– If /the SDR Measure 1     Correct.
                                            discharge is effective before the subsequent
                                            discharge, Nelnet will apply the subsequent
                                            discharge for the amount that brings the
61       6/3/2024         43010.020         balance to $0.00. If the SDR Measure 1
                                            discharge is effective after the receipt of
                                            another discharge type, Nelnet will adjust the
                                            SDR Measure 1 write off to bring the loan
                                            balance to $0.00.
                                            •Forgiveness Not Applied, Loan pending          Correct
                                            discharge or forgiveness. And 43010.000 The
                                            servicer shall not process the SDR forgiveness
                                            (Measures 1, 2, or 3) on the loan if any of the
                                            following discharges/forgiveness are actively
58       6/3/2024           43010
                                            pending on the loan:
                                            oAssump on – Pending discharge indicates it is
                                            an approved discharge or forgiveness.


                                            •43010 series – How does a borrower need to       The borrower cannot request (verbal or written) that the SDR discharge be
                                            request reversal? Ex. Verbal, Mail etc.           reversed. To clarify, FSA intended the term “request” to mean that the
59       6/3/2024           43010                                                             borrower submitted an application, or was deemed eligible by FSA, for a
                                                                                              discharge/forgiveness program listed in 43010 and was approved by FSA
                                                                                              within the 6 month period.
                                            Related to Question #16: It is the concern of all Can you please clarify your question?
                                            payments being reapplied before the letter is
43       5/10/2024        43001.041         generated to make sure the balance is
                                            accurate. So it creates a dependency and
                                            delays the letter. Payments get backed off and
                                            reapplied If there is a system issue reapplying
                                            Can FSA provide clarity on what is meant by       Borrowers who make less than the income thresholds defined within the draft
                                            'Unlimited' ‐ D2 for the forgiveness Measure 1: regulation are eligible for an unlimited amount of forgiveness to reduce the
                                            Current Balance Exceeds Original Principal        current principal and interest balance to the amount at which the borrower
51       5/14/2024                          Balance ‐ Unlimited                               entered repayment. Those borrowers who are above the income threshold
                                                                                              defined within the regulation or if FSA does not have income information
                                                                                              available are eligible for up to $20,000.
                                            Would it be possible to be provided the           FSA will provide the language as early as possible
                                            language/format 30/40 calendar days prior
52       5/15/2024   43001.042, 43002.092   instead of 20 calendar days prior?



                                            What is the naming convention and format?         The file format is .csv. The naming convention is 18000_Discharge Data
                                            CSV?                                              ReportV2_XXX_MMDDYYYY Where XXX is the servicer code
53       5/20/2024     Follow‐up to Q24



                                            Based on the updated requirements Nelnet's        Correct
                                            assumption that we do not have to complete
54       5/20/2024     Follow‐up to Q34     the recall process with DMCS.



                                            Can FSA add in where Measure 1, 2, 3 will fall in FSA will provide an updated hierarchy once available.
                                            the discharge hierarchy spreadsheet, not just
55       5/20/2024     Follow‐up to Q35     how they rank against each other? Does this
                                            mean that FSA will not be sending us loans that
                                            are on other discharge populations (D2D, BD,
                                            ACSD) or any that were previously discharged
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                                              Please provide a copy of the sample file.        The operational report template was provided with the CR.

56       5/20/2024   Reporting Requirements



                                              CR6822 is not approved or implemented. We Noted.
                                              can add a forb time to our system, but the
57       5/20/2024          General           additional reporting is not part of CR7037. This
                                              would occur when CR6822 is implemented.


                                              What loan statuses should be included? If the Servicers are to report all loans, regardless of status, with a total balance
                                              borrower is in school and has an unsubsidized greater than $0. (43000.011)
                                              loan this would be over their principal balance.
1        5/8/2024          43000.010          o 43000.010: The servicers shall submit to
                                              NSLDS the 9/1/2024 principal and interest
                                              balance of every loan on their system.

                                              Are there concerns with NSLDS or FSA on size NSLDS does not have size limitations for FLS NSLDS submission files.
                                              limitations? We are reviewing limits on the NN
                                              side as well.
2        5/8/2024          43000.012
                                              § 43000.012: Servicers shall include the
                                              submission within a unique, one‐time NSLDS
                                              reporting batch.
                                              Assumption there are no changes to the AQ         Correct
                                              record submission or data elements.
3        5/8/2024          43000.014          § 43000.014: Servicers shall report the
                                              balances/send the batch file no earlier than
                                              9/2/2024 but no later than 9/5/2024.
                                              Please provide examples of what errors may        NSLDS will process the AQ record for the 9/1/2024 submission the same as
                                              be? Will there be a special process? Certain      current reporting. Each servicer should be aware of current error volume and
                                              types of errors can be resolved in "bulk" others examples.
                                              are manual 1 by 1.
                                              § 43000.015: Servicer shall resolve all errors or
4        5/8/2024          43000.015
                                              discrepancies identified by NSLDS or FSA by
                                              9/6/2024. No cost can be associated with this
                                              requirement. Servicers are required to report
                                              timely and accurately.

                                              When will we receive the file?                   FSA will provide an update on when the file layouts will be provided.
                                              o 43000.020: The servicer shall accept a new
5        5/8/2024          43000.020          Measure 1 forgiveness request file from NSLDS
                                              that contains at a minimum the data elements
                                              defined below:
                                              What if it does bring it to zero? How will we    The loan balance, as a result of the application of forgiveness for Measure 1,
                                              report this?                                     should not result in a zero balance. NSLDS determines the forgiveness amount
                                              § 43000.055: If the amount of forgiveness is     at the loan level. If the reapplication of other servicing activity after the
                                              greater than the amount of outstanding           effective dates results in the balance going to zero that is separate from the
                                              interest, the forgiveness amount remaining       forgiveness.
                                              after forgiving interest (difference between the
6        5/8/2024          43000.055
                                              Amount of Forgiveness minus the reduction
                                              applied to Accrued Interest) shall be applied to
                                              principal. Note: The amount of forgiveness
                                              applied shall never result in the loan balance
                                              going to zero.

                                              Can we remove remaining balance and state          The items listed within the requirements are variables that may be included in
                                              borrowers can look on the servicer borrower the letter text.
                                              secure site?
                                              § 43000.061: The notice to borrowers will be
7        5/8/2024          43000.061
                                              dynamic and include borrower specific
                                              elements such as borrower identifiers/loan
                                              identifiers, forgiveness amounts and remaining
                                              balances.
                                              We assume the notice will not change from file FSA will provide the content. The content may change between file type.
                                              to file
                                              § 43000.062: Servicers will be provided the FSA
8        5/8/2024          43000.062          approved Measure 1 forgiveness notice
                                              language/format no later than 20 calendar days
                                              prior to the servicers' receipt of the forgiveness
                                              file.
                                              Please provide a file layout                       FSA will provide an update on when the file layouts will be provided.
                                              o 43000.080: The servicers shall provide
9        5/8/2024          43000.080          Measure 1 forgiveness response
                                              information to NSLDS weekly as part of
                                              NSLDS reporting.
                                              What FMS reason codes will be used?        FMS Reason Code 1133
                                              1. D1 for the forgiveness Measure 1:
10       5/8/2024          43000.080
                                              Current Balance Exceeds Original Principal
                                              Balance ‐ $20,000.
                                              What FMS reason codes will be used?        FMS Reason Code 1134
                                              2. D2 for the forgiveness Measure 1:
11       5/8/2024          43000.080
                                              Current Balance Exceeds Original Principal
                                              Balance ‐ Unlimited.
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                                  What FMS reason codes will be used?         FMS Reason Code 1135
12       5/8/2024     43000.080   3. D3 as the forgiveness Measure 2:
                                  Forgiveness after 20 Years.
                                  What FMS reason codes will be used?         FMS Reason Code 1136
13       5/8/2024     43000.080   4. D4 as the forgiveness Measure 2:
                                  Forgiveness after 25 Years.
                                  What FMS reason codes will be used?         FMS Reason Code 1137
                                  5. D5 as the forgiveness Measure 3:
14       5/8/2024     43000.080
                                  Eligible for SAVE Forgiveness, Not Applied.

                                  Is volume going to be available with this   Yes, FSA will provide the file volume when available.
                                  notification?
                                  § 43001.039: The servicer shall begin
15       5/8/2024     43001.039   processing the Measure 2 forgiveness file
                                  immediately upon receipt and approval
                                  from FSA to begin the discharge. FSA will
                                  provide 5 calendar day notice prior to file
                                  receipt
                                  Can we remove remaining balance and         FSA will provide the content, but servicers should assume the message will be
                                  state borrowers can look on the servicer similar in nature to the IDR Direct to Discharge confirmation notification that
                                  borrower secure site? Please define others, servicers use today.
                                  this is needed to determine what
                                  parameters and complexities need to be
                                  incorporated with our solution.
16       5/8/2024     43001.041   § 43001.041: Servicers should anticipate
                                  the notice to the borrower will be dynamic
                                  and include borrower specific elements
                                  such as borrower identifiers/loan
                                  identifiers, forgiveness amounts and
                                  remaining balances (and possibly others).
                                  We assume the notice will not change          The content may change file to file.
                                  from file to file
                                  § 43001.042: Servicers will be provided the
17       5/8/2024     43001.042   FSA‐approved Measure 2 forgiveness
                                  notice language/format no later than 20
                                  calendar days prior to the servicers' receipt
                                  of the forgiveness file.
                                  We assume the notice will not change          The content may change file to file.
                                  from file to file
                                  § 43002.092: Servicers will be provided the
18       5/8/2024     43002.092   FSA‐approved Measure 3 forgiveness
                                  notice language/format no later than 20
                                  calendar days prior to the servicers' receipt
                                  of the forgiveness file.
                                  Please provide a file layout                  FSA will provide an update on when the file layouts will be provided.
                                  o 43003.010: Measure 2 and 3 response
19       5/8/2024     43003.010   information will be sent to NSLDS via SAIG
                                  weekly as part of NSLDS reporting. (with a
                                  new message class).
                                  What other testing is needed?                 See artifact listing in CR.
                                  o 43005.010: IST will test all new
20       5/8/2024     43005.010
                                  functionality and exchange of data with
                                  NSLDS (at a minimum).
                                  Could FSA include messaging to update         FSA will consider including this in the opt‐out.
                                  their address with their servicer.
21       5/8/2024     43006.010
                                  o 43006.010: FSA will provide servicers a
                                  copy of the opt‐out notification(s) prior to
                                  sending the opt‐out notice to borrowers.

                                  How will borrowers know which one will         The borrower will opt out of all forgiveness types. FSA may provide additional
                                  they want to opt out for? Will there be        scripting prior to the opt‐out period beginning.

22       5/8/2024     43006.041
                                  scripting for the call center?
                                  § 43006.041: Once a borrower opts out,
                                  they will not have the option to opt back
                                  in.
                                  What is the opt out period length?             FSA will provide additional information regarding the Opt‐Out period prior to
23       5/8/2024      General
                                                                                 the notification being sent.
                                  What is the forgiveness code you are           The forgiveness code referenced in requirements 43003.030, 43000.083,
                                  referencing (only PSLF and TEACH.              43001.011.
                                  Forgiveness is not in the EA27 transfer
                                  process or 18000 transfer process.
24       5/8/2024     43007.000   ∙ 43007.000: The servicers shall include
                                  updated forgiveness codes within all
                                  existing transfer processes and procedures
                                  (sending and receiving of loans to all other
                                  federal servicers and DMCS).
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                                            What specifics/data need to be displayed? The servicer shall display the type of forgiveness applied. FSA will provide the
                                            ∙ 43008.000: The servicers shall update text for each measure.
                                            borrower facing websites to display and
25       5/8/2024        43008.000          define forgiveness that has been applied to
                                            borrower’s account(s) on the servicing
                                            system.

                                            Can we automate the box.com process?      FSA previously provided instructions related to this question. Box.com cannot
                                            ∙ 43009.000: The servicers shall support be automated, but there is the ability to sync with your desktop in a file
                                            twice daily operational reporting and     explorer view.
                                            submit the reports NLT 11am ET and 4pm
26       5/8/2024        43009.000          ET each day via Box.com until the initial
                                            Measures 1, 2 and 3 discharge files are
                                            complete. See SDR Operational Reporting
                                            Template for additional details.

                                            Can you provide timeline example for each         The notification timelines and timeliness requirements are in the change
27       5/8/2024          General
                                            measure on the expected flow?                     request.
                                            We are seeking clarification if this unique, one‐ No, there will be no variation from the AQ Record type.
28       5/8/2024        43000.012          time NSLDS reporting batch will be some
                                            variation of the AQ.
                                            Is FSA going to dictate which servicer reports No, the servicers can deliver on the same day.
                                            on which date or could NSLDS take the
29       5/8/2024          General
                                            submission from all servicers on the same day?

                                            Does FSA want us to stop reporting the AQ         No, the servicer shall submit the AQ record as part of the one time submission
30       5/8/2024          General          records as part of our normal weekly              and part of the batch process.
                                            submission for the week of 9/2?
                                            Will FSA be creating a webpage on                 FSA has already updated StudentAid.gov with the measures (link below).
                                            Studentaid.gov to house information on these Additional information will be added for example opt‐out. FSA may add
                                            measures for borrowers? (It would help all        additional content to StudentAid.gov. https://studentaid.gov/manage‐
31       5/8/2024          General
                                            servicers to be able to have a single location to loans/forgiveness‐cancellation/debt‐relief‐info
                                            drive borrowers for the most current and
                                            accurate information.)
                                            With these Discharge changes, does the            No, FSA will not modify this report since we'll leverage the temp reporting
32       5/8/2024     Existing Reporting    Monthly Discharges/Discharge Aging report         under the CR.
                                            need updated 11016/11017?
                                            Should the unique, one‐time NSLDS reporting Yes, multiple servicers may submit the AQ record on the same day.
                                            batch ONLY contain AQ records?                    No, the AQ record type should still be included in normal weekly batch
                                            •Is it acceptable for Nelnet and CRI to submit submissions.
                                            the one‐time reporting on the same day
                                            (9/2/2024)?
                                            •Should the regular, weekly submi al file on
33       5/8/2024   43000.010 ‐ 43000.014
                                            9/3 (CRI) and 9/5 (Nelnet) no longer include AQ
                                            records? This is when we normally would
                                            submit AQ records for the month of
                                            September. We will need to remove them from
                                            reporting if they should not be included.

                                            If a borrower has defaulted to DMCS, does the See updated CR requirements.
                                            servicer need to recall the loan back to their
                                            servicing system to provide the borrower the
34       5/9/2024        Measure 3
                                            discharge? Since measure 3 is ongoing, this
                                            may eventually overlap with loans that will
                                            default in the future.
                                            Can FSA add Measure 1, 2, and 3 into the         FSA is building the hierarchy into the NSLDS files and the servicer should
                                            discharge hierarchy so that servicers have clear discharge as instructed in the file. However for awareness the hierarchy is ‐
35       5/9/2024         Hierarchy         priority of which discharge takes priority if    Measure 3, Measure 2, then Measure 1.
                                            multiple are in motion or one has been
                                            previously processed?
                                            Does the administrative forbearance added for No
                                            Measure 2 and 3 override other deferments,
36       5/9/2024        Measure 2
                                            forbearances or $0 PFH that may be on the
                                            account?
                                            In requirement 43006.010, FSA sends              If a borrower calls to opt‐out before the specific populations are identified ‐
                                            communication to the borrower prior to the       they are opting out of all three measures.
                                            servicers receiving the population. If a
                                            borrower calls in and the Servicers don’t have
                                            the list of borrowers or measure information,
37       5/9/2024        43006.010
                                            Servicers will not be able to correctly opt the
                                            borrowers out of the measure. What will be the
                                            timing of the borrower communication and
                                            servicers receiving the debt relief files?

                                            Will the borrowers receive notification of        FSA will provide more information regarding the opt‐out.
38       5/9/2024          General          eligibility for multiple types of measures at the
                                            same time?
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                                             With respect to requirement: “43006.050: FSA 1. No
                                             will notify the servicers of the length of the opt 2. Yes, the opt‐out will be a fixed period of time for all three measures and all
                                             out period prior to the opt‐out period             three measures will have the same time period.
                                             beginning.”
                                             Can you further explain how the opt‐out period
                                             will be defined by answering the following
                                             questions: (Similar to above question we have)
39       5/9/2024          43006.05
                                             •Will there be a separate opt‐out period for
                                             each measure?
                                             •Will the opt‐out period be a fixed period of
                                             time (e.g., 20 days, 3 weeks) for each measure
                                             or will it be variable based on the type of
                                             measure, holidays, etc.?

                                             When a borrower has a loan that qualifies for 1. FSA will determine the hierarchy of loans. At this time we are prioritizing
                                             more than one measure... How will the         Measure 3 forgiveness. Borrowers will not have the option to choose.
                                             measure be decided?                           2. No and FSA may provide additional talking points and will update
                                             •For example: Will FSA determine that?, Will StudentAid.gov with additional information and FAQs.
40       5/9/2024          General           the borrower have the option to choose?
                                             •Will the loan servicer be expected to answer
                                             how the measure was chosen for their loan(s)?


                                             Shall the loan servicer communicate to the         See question 25.
                                             borrower (e.g., on the borrower facing website)
                                             with the specific details of how they qualified
                                             for the debt relief they receive? (e.g., your loan
41       5/9/2024         Add'l comm
                                             is older than 20 years and has X balance,
                                             therefore you were granted Debt Relief based
                                             on Measure 2)

                                             What other types of communication channels         Similar to the previous DR efforts the servicers should expect FSA
42       5/9/2024         Add'l comm         are servicers going to need to plan for?           communications about this discharge.

                                             If a borrower has 3 loans, but one loan is     For measures 2 and 3 the payments should be refunded.
                                             forgiven, are the payments made on the
44       5/10/2024      Measures 2 & 3       forgiven loan to be refunded to the borrower
                                             or reallocated proportionally across remaining
                                             loans on system?
                                             Any payments that came in a er the eﬀec ve The payments should be refunded.
                                             date, should we refund to borrower OR try to
45       5/10/2024      Measures 2 & 3
                                             reallocate across remaining loans?

                                             When sending any files, can FSA please include Noted.
46       5/10/2024         General           @AidvantagePMO in the distribution?

                                             For this response how does FSA want the        The CR requires the response be sent weekly.
                                             information passed on? Our assumption is that
47       5/10/2024   43000.080 & 43003.010
                                             it is not part of the normal NSLDS submission.

                                             Is the indicator going to be included in the file Yes
48       5/10/2024        43001.020
                                             that we receive?
                                             Which fine grain forbearance would this           AD22: IDR Forgiveness Opt‐Out Period
49       5/10/2024        43001.031
                                             administrative forbearance tie back to?
                                             What is the expected timeframe for the opt out The opt‐out should be reported within 2 business days.
50       5/10/2024        43006.030
                                             to be updated on NSLDS?
